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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

 LEROY PERNELL et al.,

       Plaintiffs,

                 v.
                                              Case No.: 4:22-cv-00304-MW-MAF
 FLORIDA BOARD OF GOVERNORS
 OF THE STATE UNIVERSITY
 SYSTEM et al.,

       Defendants.


      PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION FOR
                   PRELIMINARY INJUNCTION

                               INTRODUCTION

      The Stop Wrongs Against Our Kids and Employees (“Stop W.O.K.E.”) Act

facially prohibits teaching university students viewpoints disfavored by the

legislature—a type of viewpoint discrimination that the First Amendment cannot

abide. As presented in Plaintiffs’ Complaint (Dkt. 1), Memorandum of Law in

Support of Plaintiffs’ Motion for Preliminary Injunction (Dkt. 13), and

Memorandum of Law in Opposition to Defendants’ Motion to Dismiss, Plaintiffs

have clearly established standing to challenge the Act, because each Plaintiff fully

intends to teach concepts the Act prohibits or enroll in classes where the concepts




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will be taught.1 Plaintiffs are irreparably harmed and chilled by the Act, even as they

struggle to discern its vague language. A preliminary injunction is necessary to stop

the State from casting a “pall of orthodoxy” on Florida colleges and universities.

Keyishian v. Bd. of Regents of Univ. of N.Y., 385 U.S. 589, 603 (1967).

      In their Response in Opposition to Plaintiffs’ Motion for Preliminary

Injunction, Defendants do not dispute that the Stop W.O.K.E. Act is a viewpoint-

based regulation. Instead, they argue that no First Amendment rights are at stake

because all instruction at public colleges and universities is “government speech,”

Dkt. 52 at 10—a startling assertion for Plaintiffs and all who value colleges and

universities “as the founts of—and the testing grounds for—new ideas.” Speech

First, Inc. v. Cartwright, 32 F.4th 1110, 1128 (11th Cir. 2022). Defendants’

capacious interpretation of the government speech doctrine swallows the concept of

academic freedom whole. In their brief, Defendants ignore the Eleventh Circuit’s

recent opinion reaffirming the importance of First Amendment rights in higher

education in Speech First, misapply caselaw governing K-12 to higher education,

and halfheartedly defend the Stop W.O.K.E. Act’s obvious vagueness.




1
 See Dkt. 13 at 10–16; Pernell Decl. ¶¶ 22–23; Thompson Dorsey Decl. ¶¶ 41–45;
Austin Decl. ¶¶ 41–43; Park Decl. ¶¶ 20–21, 30; Sandoval Decl. ¶¶ 13–17; Almond
Decl. ¶¶ 12, 20, 22; Dunn Decl. ¶¶ 13–14; Dauphin Decl. ¶ 19–22.

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       For these reasons, Defendants’ arguments are unavailing and the preliminary

injunction should be granted.

                                  ARGUMENT

I.     Viewpoint-Based     Discrimination     Is   Unconstitutional     in   Higher
       Education.

       A.    The First Amendment applies with special force in public colleges
             and universities.

       Defendants argue that the First Amendment offers no protection for

professors’ in-class speech, citing out-of-circuit cases holding that K-12 teachers’

speech rights are limited under Garcetti v. Ceballos, 547 U.S. 410 (2006), like other

public employee speech. Dkt. 52 at 18–27. But these cases, by their own terms, are

cabined to the K-12 context. See, e.g., Evans-Marshall v. Bd. of Educ. of Tipp City,

624 F.3d 332 (6th Cir. 2010) (“[T]he constitutional rules applicable in higher

education do not necessarily apply in primary and secondary schools, where students

generally do not choose whether or where they will attend school.”); Mayer v.

Monroe Cnty. Cmty. Sch. Corp., 474 F.3d 477, 480 (7th Cir. 2007) (“[T]he [F]irst

[A]mendment does not entitle primary and secondary teachers, when conducting

the education of captive audience, to cover topics, or advocate viewpoints, that

depart from the curriculum adopted by the school system.”) (emphasis added).

       In Defendants’ lead case, Bishop v. Aronov, 926 F.2d 1066 (11th Cir. 1991),

the Eleventh Circuit recognized the distinction between K-12 standards and higher


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education, noting that Hazelwood “dealt with students at the secondary level” and

that no controlling caselaw applied in higher education, while nonetheless adopting

Hazelwood’s “reasoning” as instructive. Id. at 1074 (citing Hazelwood Sch. Dist. v.

Kuhlmeier, 484 U.S. 260, 272–73 (1988)). This court should likewise recognize the

special protections for speech in higher education.

       Whereas high school students “range[] in age from fifteen to just over

eighteen, and a substantial number ha[ve] not yet reached the age of majority,”

college students are adults. Virgil v. Sch. Bd. of Columbia Cnty., 862 F.2d 1517,

1525 (11th Cir. 1989). And Supreme Court precedent “leave[s] no room for the view

that . . . First Amendment protections should apply with less force on college

campuses than in the community at large.” Healy v. James, 408 U.S. 169, 180

(1972). Indeed, “given the important purpose of public education and the expansive

freedoms of speech and thought associated with the university environment,

universities occupy a special niche in our constitutional tradition.” Grutter v.

Bollinger, 539 U.S. 306, 329 (2003); see also Speech First, Inc., 32 F.4th at 1127

n.6 (quoting Gay Lesbian Bisexual All. v. Pryor, 110 F.3d 1543, 1550 (11th Cir.

1997)) (“[T]he dangers of viewpoint discrimination are heightened in the university

setting.”).




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      B.     Academic freedom protects higher education instructors and
             students from viewpoint-based discrimination.

      Defendants argue that “Plaintiffs have no individual right of academic

freedom to control the curriculum,” Dkt. 52 at 16, but they misunderstand the

concept and Plaintiffs’ claims in at least three ways. First, academic freedom does

not belong only—as Defendants suggest—to academic institutions; courts have also

recognized that academic freedom interests belongs to individual instructors. See

Hillis v. Stephen F. Austin State Univ., 665 F.2d 547, 553 (5th Cir. 1982)

(“[Academic freedom’s] roots have been found in the [F]irst [A]mendment insofar

as it protects against infringements on a teacher's freedom concerning classroom

content and method.”). Public college faculty and staff “cannot carry out their noble

task if the conditions for the practice of a responsible and critical mind are denied

them.” Wieman v. Updegraff, 344 U.S. 183, 196 (1952) (Frankfurter, J., concurring).

      While the need for “independent and uninhibited exchange of ideas among

teachers and students” and for “autonomous decisionmaking by the academy itself”

might appear “somewhat inconsistent[],” Regents of Univ. of Mich. v. Ewing, 474

U.S. 214, 226 n.12 (1985), in this case they are uniquely aligned, as both individual

professors and universities have academic freedom from the legislature. In order for

institutions and their professors to enjoy academic freedom, the State must not create

“an atmosphere of suspicion and distrust” wherein “scholarship cannot flourish.”

Sweezy v. New Hampshire, 354 U.S. 234, 250 (1957). With the Stop W.O.K.E. Act,

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the legislature is punishing disfavored academic speech on race and sex, violating

Plaintiffs’ academic freedom.

      Second, Defendants assert that “academic freedom is [not] an independent

First Amendment right.” Dkt. 52 at 16 (quoting Bishop, 926 F.2d at 1075). Plaintiffs

do not dispute that academic freedom has not been recognized as independent

grounds for suit, nor did Plaintiffs aver any such independent right in their

complaint. Instead, Plaintiffs alleged violations of their First Amendment speech and

access-to-information rights. See Dkt. 1 ¶¶ 211–25. Plaintiffs simply argue that in

the context of higher education, academic freedom is “a special concern of the First

Amendment.” Keyishian, 385 U.S. at 603. As such, courts have weighed academic

freedom heavily where, as here, “there [i]s an attempt to suppress ideas by the

government.” In re Dinnan, 661 F.2d 426, 430 (5th Cir. 1981).2

      Third, Defendants argue that Plaintiffs are trying “to control the state’s

curriculum,” relying again on Bishop. Dkt. 52 at 16. But Bishop actually

contemplated a content-based regulation on all religious views, saying that “the

University as an employer and educator can direct Dr. Bishop to refrain from

expression of religious viewpoints in the classroom and like settings.” Bishop, 926

F.22d at 1077 (emphasis added). While it made sense for the university to limit

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  “Decisions issued by Unit B of the former Fifth Circuit are binding precedent in
the Eleventh Circuit.” United States v. Henco Holding Corp., 985 F.3d 1290, 1297
n.4 (11th Cir. 2021)

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religious content in Professor Bishop’s Health, Physical Education, and Recreation

class, the situation would have been quite different if the university had, more

analogous to the Stop W.O.K.E. Act, proscribed certain religious views while

allowing others.3

        Requiring that professors teach the content of their assigned subjects and

adhere to professional standards is fully consistent with the First Amendment’s bar

on viewpoint-based restrictions on instructors’ in-class speech. Indeed, Plaintiffs

want to be held to high academic standards; they are challenging the Act in part

because it prevents them from complying with those standards. See, e.g., Almond

Decl. ¶ 27. There is a material distinction between requiring professors to keep

personal religious views out of gym class, and requiring them to adhere to particular

viewpoints within their subject matter expertise. That difference is dispositive.

II.     Plaintiffs’ Instruction and Coursework Are Not “Government Speech.”

        Defendants argue that professors’ in-class speech is “pure government speech,

not the speech of the educators themselves.” Dkt. 52 at 19. But this is wrong as a



3 The analysis in Bishop may also have been different if it were the legislature and
not the university regulating the Professor Bishop’s speech. The Eleventh Circuit
was particularly concerned about “supplant[ing] its discretion for that of the
University,” as “Federal judges should not be ersatz deans or educators.” 926 F.2d
at 1075. But this deference to university officials on matters of academic affairs,
should not be afforded to state legislators. Like the judiciary, legislators should “trust
that the University will serve its own interests as well as those of its professors in
pursuit of academic freedom.” Id. at 1075.

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matter of law and of principle. Defendants rely on Garcetti v. Ceballos, which

limited First Amendment protections for many public employees when it held that

they could constitutionally be disciplined for statements made pursuant to their

official duties. 547 U.S. at 421. But in so holding, the Supreme Court, recognizing

that “[t]here is some argument that expression related to academic scholarship . . .

implicates additional constitutional interests that are not fully accounted for by [the

Supreme] Court’s customary employee-speech jurisprudence,” did not “decide

whether the analysis [it] conduct[ed] [in Garcetti] would apply in the same manner

to a case involving speech related to scholarship or teaching.” Garcetti, 547 U.S. at

425; see also Austin v. Univ. of Fla. Bd. of Trustees, 580 F. Supp. 3d 1137, 1172

(N.D. Fla. 2022) (professors’ “speech, by its very nature, may merit additional

judicial solicitude”), appeal docketed No. 22-104488 (11th Cir. Feb. 9, 2022).

Plaintiffs are, of course, public employees, but requiring them to teach only

viewpoints the legislature has pre-approved would “impose a[] strait jacket upon the

intellectual leaders in our colleges and universities [which] would imperil the future

of our Nation.” Sweezy, 354 U.S. at 250.

      Furthermore, “[a] crucial rationale for Garcetti’s holding that statements

made by public employees pursuant to their official duties are not protected by the

First Amendment is the governmental employer’s right to control official

communications,” Hubbard v. Clayton Cnty. Sch. Dist., 756 F.3d 1264, 1268 (11th


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Cir. 2014), which are distinct from classroom discussions. Defendants cite Walker

for the proposition that government speech is not protected by the First Amendment

because the government “could not ‘effectively’ implement its policies if it ‘had to

voice the perspective of those who oppose’ it.” Dkt. 52 at 10 (quoting Walker v. Tex.

Div., Sons of Confederate Veterans, Inc., 576 U.S. 200, 207–208(2015)). A

professor’s in-class instruction is clearly not an official communication by the

university. The purpose of higher education is to teach students “through wide

exposure to [ ] robust exchange of ideas”—not through a single viewpoint, or a class

of permissible viewpoints—that the university has made an “authoritative selection”

to sponsor as its own. See Keyishian, 385 U.S. at 603 (quoting United States v.

Associated Press, 52 F. Supp. 362, 372 (S.D.N.Y. 1943)).

      Defendants’ reliance on Rosenberger is similarly misplaced. There, the Court

noted in dicta that “[w]hen the University determines the content of the education it

provides, it is the University speaking, and we have permitted the government to

regulate the content of what is or is not expressed when it is the speaker or when it

enlists private entities to convey its own message.” Rosenberger v. Rector and

Visitors of Univ. of Va., 515 U.S. 819, 836 (1995). Defendants argue that a

professor’s in-class speech is therefore completely without protection. But

Rosenberger authorized content-based, not viewpoint-based, regulations. This

interpretation is supported in the Rosenberger Court’s reasoning that viewpoint-


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based restrictions were improper “when the University does not itself speak or

subsidize transmittal of a message it favors but instead expends funds to encourage

a diversity of views from private speakers.” Id. at 834. In other words, a university

“speaks” when it requires that all students take two semesters of a foreign language,

or tells a particular professor to teach physics. But nothing in Rosenberger suggests

that the viewpoints an instructor advances in class should be directly attributed to

the state.

III.   The Stop W.O.K.E. Act Is Unconstitutionally Vague by Any Standard.

       This Court has already held that the Stop W.O.K.E. Act is unconstitutionally

vague. Honeyfund.com v. DeSantis, 4:22-cv-00227-MW-MAF, 2022 WL 3486962,

at *14 n.13 (N.D. Fla. Aug. 18, 2022). Defendants argue that there is a lower bar for

vagueness where state employees are concerned. Dkt 52 at 26. But “[s]tandards of

permissible statutory vagueness are strict in the area of free expression.”

Wollschlaeger v. Governor of Fla., 848 F.3d 1293, 1320 (2017) (quoting NAACP v.

Button, 371 U.S. 415, 432 (1963)). This is especially true in “the community of

American universities,” because in “an area so closely touching our most precious

freedoms . . . [t]he danger of [a] chilling effect upon the exercise of vital First

Amendment rights must be guarded against by sensitive tools which clearly inform

teachers what is being proscribed.” Keyishian, 385 U.S. at 604 (cleaned up); see also

Grayned v. City of Rockford, 408 U.S. 104, 109 (1972) (“Uncertain meanings


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inevitably lead citizens to steer far wider of the unlawful zone . . . than if the

boundaries of the forbidden areas were clearly marked.”) (cleaned up).

      Under any standard, the Stop W.O.K.E. Act impermissibly chills a wide range

of speech and violates Plaintiffs’ due process rights because its lack of clarity makes

it impossible for Plaintiffs to know what is prohibited and what is permitted. Florida

universities are similarly confused about the sweep of the Stop W.O.K.E. Act, as

evidenced by their own vague guidance on how to comply with the Act. See, e.g.,

Sandoval Decl. ¶ 24 (quoting University of Central Florida guidance, stating “[t]his

language is not defined by Florida law, and the Florida Legislature did not provide

guidance on what this language means in the context of implementing or complying

with the requirements.”).

      Defendants’ argument that the enforcement regulations’ scienter requirement

and enforcement procedure cure the Stop W.O.K.E. Act’s vagueness is wrong. Dkt.

52 at 30. The law itself includes no scienter requirement and Regulation 10.0005

says only that a university can be punished if it “willfully and knowingly engaged in

conduct” that violates the Stop W.O.K.E. Act.4 But willfully and knowingly

engaging in conduct is distinct from knowing whether the speech is proscribed or


4
  See Fla. Bd. of Gov’rs, State Univ. Sys. of Fla., 10.005 Prohibition of
Discrimination in University Training or Instruction (proposed July 1, 2022),
available at https://www.flbog.edu/wp-content/uploads/2022/07/10.005Noticeof
NewProposedRegulationJune2022.pdf.

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permitted. Similarly, Defendants’ argument that the fact that Regulation 10.0005’s

penalties only accrue after universities mandate that instructors modify their speech

“eliminates any risk of arbitrary enforcement,” Dkt. 52 at 31, misconstrues that risk.

It is little comfort to instructors that the university will issue a mandate since the

universities themselves cannot know what the law requires of them.

IV.    The Stop W.O.K.E. Act Is Not Severable in Any Way That Would Make
       It Constitutional.

       As this Court held in Honeyfund, the “Court need not confront severability

because the unconstitutionally vague ‘objectivity’ requirement, which governs the

entire challenged provision, renders the statute as a whole unconstitutionally vague.”

Honeyfund, 2022 WL 3486962, at *14 n.13. Moreover, because each concept in

Section 2(4)(a) enacts a viewpoint-based restriction on university instructors’

speech, severing any one concept would not leave “remaining valid provisions,” and

“the good and the bad features” of the Act are “so inseparable in substance that it

can [not] be said that the Legislature would have passed the one without the other.”

See Wollschlaeger, 848 F.3d 1293, 1317–18 (11th Cir. 2017) (quoting State v.

Catalano, 104 So.3d 1069, 1080 (Fla. 2012)) (listing severability requirements).

V.     All Preliminary Injunction Factors Weigh Heavily in Plaintiffs’ Favor.

       Defendants intimate that Plaintiffs did not file for a preliminary injunction

with sufficient urgency. Dkt. 52 at 33. But this lawsuit was filed just six weeks after

the law took effect—a far cry from the “unexplained five-month delay” Defendants
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cite in Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244 (11th Cir. 2016). See also

Dream Defs. v. DeSantis, 559 F. Supp. 3d 1238, 1285–56 (N.D. Fla. 2021) (granting

preliminary injunction and finding that plaintiffs did not “unduly” delay in filing

three months after law came into effect).

        Defendants also briefly assert that the balance of the equities weighs in their

favor because the State has a compelling interest in ending discrimination. Dkt. 52

at 33. But attempting to cast the Act as an anti-discrimination measure does not

exempt it from First Amendment requirements, and prohibiting viewpoints that the

legislature disagrees with is not in the public’s interest. See Texas v. Johnson, 491

U.S. 397, 414 (1989) (“If there is a bedrock principle underlying the First

Amendment, it is that the government may not prohibit the expression of an idea

simply because society finds the idea itself offensive or disagreeable.”). While

preserving academic freedom in universities can lead to uncomfortable

conversations, contentious debate, and “hurtful expression,” courts have recognized

time and time again that “that’s a cost that ‘We the People’ have accepted as

necessary to protect free-speech interests more generally.” Speech First, 32 F.4th at

1128.

                                   CONCLUSION

        The Court should grant Plaintiffs’ request for a preliminary injunction.




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Respectfully submitted,                  Dated October 4, 2022

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      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(F)

      This foregoing Reply in Support of Plaintiffs’ Motion for a Preliminary
Injunction contains 2,927 words in compliance with Local Rule 7.1(I).

Dated: October 4, 2022.                   By:     /s/ Emerson Sykes         .
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